                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

U.S. EQUAL EMPLOYMENT                              )
OPPORTUNITY COMMISSION,                            )
                                                   )       Civil Action No. 1:24-cv-08910
                                                   )       Judge Andrea R. Wood
                      Plaintiff,                   )
                                                   )
                      v.                           )
                                                   )
REGGIO’S PIZZA, INC.                               )
                                                   )
                      Defendant.                   )
                                                   )

              PLAINTIFF EEOC’S MOTION TO DISMISS EEOC LITIGATION

       Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff U.S. Equal Employment Opportunity

Commission (“EEOC”) respectfully requests that the Court dismiss the EEOC’s claim against

Defendant Reggio’s Pizza, Inc. in this action, on the terms set forth below, in light of recent

Administration policy changes. In support of this motion, the EEOC states the following.

       1.      On January 20, 2025, President Trump issued an Executive Order titled “Defending

Women from Gender Ideology Extremism and Restoring Biological Truth to the Federal

Government” (“the Order”).

       2.      On January 29, 2025, the Office of Personnel Management issued “Initial Guidance

Regarding President Trump’s Executive Order Defending Women” directing that all federal

employees must comply with and take actions to effectuate the Order (“OPM Guidance”).

       3.      The EEOC’s continued litigation of the claim in this action may be inconsistent

with the Order and the OPM Guidance.

       4.      The Aggrieved Individual informed the EEOC that she has retained her own

counsel and intends to intervene.
       5.      On February 11, 2025, the EEOC sought Defendant’s consent to this motion, but it

has yet to reply.

       For the foregoing reasons, the EEOC respectfully requests that the Court dismiss with

prejudice the EEOC’s claim on the following terms:

            A. Dismissal of the EEOC’s complaint shall be effective 30 days after the Court’s

               ruling on this motion, to permit the Aggrieved Individual an opportunity to

               intervene in this action. See 42 U.S.C. §2000e-5(f)(1) (“The person or persons

               aggrieved shall have the right to intervene in a civil action brought by the

               Commission . . . .”); however, dismissal of the EEOC’s complaint will become

               effective immediately upon the filing of a complaint in intervention, if such filing

               occurs before the end of the 30 day period.

            B. Each party to this action shall bear its own fees and costs with respect to the

               dismissed EEOC claim.

                                             Respectfully submitted,

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